          Case 4:18-cr-00534-DPM Document 1 Filed 10/04/18 Page 1 of 1                      FILED
                                                                                         U.S. DISTRICT COURT
                                                                                     EASTERN DISTRICT ARKANSAS


                                                                                          OCT - t1, 2018
                                                                              JAMES W. M
                        IN THE UNITED STATES DISTRICT COURT                   By: _ _----t------1-1'-r--~'"::"::--,::-:-==
                           EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA                     )
                                             )
                                             )
                                                            4:18-CR-   D06M ))PM
                                             )               18 U.S.C. § 2422(b)
                                             )
BENNY DON TAYLOR                             )


                                          INDICTMENT

       THE GRAND JURY CHARGES THAT:

                                          COUNT ONE

       From on or about August 24, 2017 through on or about August 27, 2017, in the Eastern

District of Arkansas, the defendant,

                                       BENNY DON TAYLOR,

using facilities and means of interstate commerce, did knowingly attempt to persuade, induce,

entice and coerce an individual, C.S., who had not attained the age of 18 years, to engage in any

sexual activity for which any person can be charged with a criminal offense, namely a criminal

offense under Arkansas law, Internet stalking of a child, in violation of A.C.A. § 5-27-306.

       All in violation of Title 18, United States Code, Section 2422(b).




                      (END OF TEXT. SIGNATURE PAGE ATTACHED.)
